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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                               ROME DIVISION

 GREAT AMERICAN INSURANCE                 )
 COMPANY,                                 ) CIVIL ACTION
                                          )
      Plaintiff,                          ) FILE NO. 4:21-cv-00078-TWT
                                          )
 v.                                       )
                                          )
 TRACY BURNS as Surviving Spouse and      )
 as Administrator of the Estate of ROBERT )
 E. BURNS, deceased, PEEK PAVEMENT )
 MARKING, LLC, WRIGHT BROTHERS )
 CONSTRUCTION COMPANY, INC.,              )
 NORTHWEST GEORGIA PAVING, INC., )
 and DONALD WAYNE KING,                   )
                                          )
      Defendants.                         )


  NOTICE OF DISMISSAL OF DEFENDANT DONALD WAYNE KING
 PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(A(i)

       Plaintiff Great American Insurance Company (“Great American”) hereby

dismisses Defendant Donald Wayne King pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(i) with prejudice.

       All Defendants having been dismissed, this action is dismissed with prejudice

in its entirety.

       Respectfully submitted, this 1st day of October, 2021.
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                                KERSHAW WHITE LLC


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                        CERTIFICATE OF SERVICE

      This is to certify that on this day, I served the Notice of Dismissal of

Defendant Donald Wayne King Pursuant to Federal Rule of Civil Procedure

41(A)(1)(A(I) upon the Clerk of Court using the CM/ECF system which

automatically sent email notification of such filing to the following attorneys of

record:

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Donald Wayne King

     Respectfully submitted, this 1st day of October, 2021.


                                      KERSHAW WHITE LLC


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